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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION
 PATRICIA KENNEDY,                        :
                                          :
           Plaintiff,                     :
                                          :
 v.                                       :
                                          : Case No: 2:20-cv-49-LGW-BWC
                                          :
                                          :
 OHM SHREE GANISH, INC.,                  :
                                          :
                                          :
           Defendant,                     :

 _______________________________________/

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                WITH PREJUDICE

               Plaintiff, pursuant to the terms of the Parties’ settlement hereby voluntarily

dismisses this case, with prejudice.

               I HEREBY CERTIFY that, on July 10, 2020 I furnished a copy of the foregoing

to: OHM SHREE GANESH, INC., c/o Prem Patel, r/a, 720 S. Lee St., Kingsland, GA 31548.


                                                             /s/Philip Michael Cullen, III
                                                             Fla. Bar No: 167853
                                                              (Admitted Pro Hac Vice)
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                                                             Attorney-at-Law – Chartered
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                                                                Joseph T. Rhodes, Esq.
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                                             GA Bar No: 309847
                                             Local Counsel for Plaintiff
cc: Sarah Gulati, Esq (via e-mail)
